         Case 1:17-cv-01132-WJ-SMV Document 39 Filed 11/05/18 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

                          Before the Honorable Stephan M. Vidmar
                               United States Magistrate Judge

                                        Clerk’s Minutes

           HB Constr., Inc. v. Travelers Prop. Cas. Co. of Am., 17-cv-1132 WJ/SMV

                                     November 5, 2018

Attorney for Plaintiff:     Daniel M. Hill

Attorney for Defendant:     Greg S. Hearing

Proceedings:                Telephonic Status Conference

                            Liberty - Picacho Courtroom

Start Time:                 1:32 p.m.
Stop Time:                  1:36 p.m.
Total Time:                 4 minutes

Clerk:                      JCM

Notes:                       ⎯ Counsel enter their appearances for the record.
                             ⎯ At the parties’ request, the Court will postpone setting a
                               settlement conference until the parties’ Motions for Summary
                               Judgment [Docs. 34, 38] are resolved or the parties contact
                               chambers wishing to set a settlement conference.
                             ⎯ There being nothing further, Court is in recess.
